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                                                                                    ELECTR4NIr—ALLY FILEa
    `                                                                                Superior Court of Califnmia,
                                                                                         County of Qrange
     1     Heather.McMillan (1.;88939)                                                10127J'2016 at 04:38:47 PM
           Daniel .P:,Stevens (1'64277)                                            Clerk of the 5uperior Court
    2      STEVENS:`& Mc ,MILLAN                                                By Marlene Orellana,Deputy Clerk
           335 .Centennial:`Way
                       1
     3     Tustin, CA 9. 2780 .
       Tel:: (714) 7304000
   .4 Fak: (714)730=1067

     5     Attorneys for Plaintiff
           ROSA FARKA"S
     6

     7
                        IN THE`SUPERTOR.COURT F.OR THE, STATE'OF CALIFORNIA
     8
                        FOR THE COUNTY OF. ORANGE; CENTRAL>JUSTICE CENTER
     9                                                                  Case No.:      30-2016-00883662- C U- 0 E- CJ C
           ROSf\ FARKAS,                                        )
   10                                                           )                        Judge Theodone Howand
                                  ,Plaintiff,                   )
   11                                                           )       CUMPLAINT,F',OR'DAMAGES
           V.                                                   )
   12                                             )                     1:          Discrimination
           BETHESDALUTHERANCOMMUI11TiES)                                2.          Failure to Prev.ent
   13      INC. and DOES 1 through 50, inclusive, )                                 Discriminatiori
                                                  )                     3:          Medical Leav,e Violation.
   1.4                       Defendants..         )                     4...        Invasion ,of Privacy
                                                                                    Wrongful Termination
   15                                               -           )

   16      Plaintiff alleges:
                                        .                                                                   ,
   17             1.       At~all times mentioned-:in tliis::complaint, :Defendarit BETHESDA LUTHERAN
   T8` COMMUNITIES:INC: was a coiporatioin; duly licerised;.atnd-conduetiiig-busin"ess iri the Countybf
   19      Orange;,-State. of California:
   20              2.      At a11 times nientioned in-this,,coinplaint, PlaintiffROSA;FARKAS, was.a:. resident
   21 ofCalifornia. During'the-relevant'tiine,period,:Plaintiffwas;employed:byand~thenterminatedby
   22 Defendants.,
   .. .;           ..                           ,
  ~23             3:.      Plaintiff, does'~ not:know the`true iiames ofbeferidants:DOES' l through' SO; ariclusive;
   24 and'therefore suethem bythose°fietitious<names:
   25              4:      Plaintiff is informed and "believes, and on tfie basis.of tliat information and belief
   26 all,eges, that at all times. mentioned 'in this complaint, DOE defendants were the, agents and
   27      employees of their co=defendants or:otherwise responsible.for the conduct complained:ofherein, and
   28                                                               1
                                                    ..      .                                         .
                                                        Complaiqt for-;D'ainages,
Case 8:16-cv-02150-JLS-KES Document 1-2 Filed 12/02/16 Page 2 of 9 Page ID #:19




      I   in d.oin&the. things alleged:in-this complaint were acting widiin- the.course.-and-,scopeofthat: agency

    .2    and, employment or were otherwiseresponsible...for thedamages comphiined--of by the,P'laintiff.,

     3                                          FACTUAL-ALLEGATIONS.

     4            5-.                                                                          i jifies, Inc.
                           RO-sa'FarkAs coniffienced dinP* lbYm6ht*ith.BdthesdALuthera ~.Commtin

     5t   on MarI c'h, 1-0, 2009;
                             ,   a.s.a..OID.P Adihinistrator.,

     6            6.     On.F6bruary 11, 20 16*she.:met with the Area birectori C-hris Tay'lor her direct
                                                                            .
    '7    supervisor. Vften she arrived.9t:his of'fice on Fobtuaiy I .1,201.6 the.HR pets6n Aftn was alsb
                                    .
     8    ptesdiit. Mn:Taylof-sai dtheAay.prior seVeral."'p"
                                                           qoold'abDroadhed hftn,.*said ihit she made-some
     9    corriinent that- made'them* think Ad was.high;or intoxicated. *He refused to -tell- her who the

   10     people were or.Wha'i ihe conimentwas. He told herthat she fiad 24 hours to:compWe. the-dru9
                            -                                                              I
   11     te0t. 'Ms. Farkas iold him.,ihai -she. di& not ust- drugs-nor was she on aoy kihd..,of medication.

   12             7.       As a restilt of the Wse chargesj~sfie.ered
                                                              :suff
                                                              '       a pa,nic - attiick. She called : her dott6r;

   13     J.7imoth
                ..Y* Grqeni:ApsYch6169ist Od-,set a~i'.abij6intiriejit to s6d hiiii-thd next-Inoin'.
                                                                                                 ini'
                                                                                                   g Thi'
                                                                                                        s

   14     the *ffie1 do.. ctqr' she.'has,beeh.,.treatifig with f6fse~&al vdafs.. He, gave. her a note on February.12,
                                                                                                         .         .
          2016whi6h shefaxed toHR:Afid. Taylor that,said she "is- i. 11 and dn treatment"'-andhe did:not
                      ..                                                              .
   16     expec't he.r to retum  . . . to work.ujiti.I.April. 14,2016"'at theearliest." She: has. had two• o'ther medical'

   17     leaves .in:the, last)-, years,for panic aftacks/anxiety,.- each 6ne: fot about 2 months.

   18             8..      Ori, Fdbruary -19,,20.15,, Ms. Farkas•found'out -hd j 9b had- been. posted internally.
                 -
   0 Sh&.textdd:C      s•-Taylofithat she hdafd'her"J"obWas- pos,te.d -,_an,
                                                                        ' "daske~-
                                                                                J hi"
                                                                                   im wh-
                                                                                        .y *g.
                                                                                             he. wasn, 't
                                                                 -                                   .
   20 41 -0tified. Oh'76bkpary 25j.,Mt. Ta .16r iold- Ms. Farkas;ifiat she w4s: Rre&Pbr~refusi~g-to iake..'a

   2.1.   drp&.test

   22             9.       The:piaiiitiff hiled:-administrati've- compled'nts with the- Department-of Fgir Housing%.

   23     -and Employment within the:gtatutorytirrit:oeriod-arid;.tetei'ved-N6tices. -ofC.- a§e- Clo.sute (Right-

   24 ~to-Sue Letters). for eabhdeferidant-narried.%hdreiri.

  .25

  .2.6.



  28                                                             2;

                                                     Cbni'laint
                                                         p .    for Damages
Case 8:16-cv-02150-JLS-KES Document 1-2 Filed 12/02/16 Page 3 of 9 Page ID #:20



                                                                                                                                        I

       1                                              FIRST CAUSE OF ACTION
   .
       2                                       (Discrimination-Gov't Code section t2940(a))
                                                                            .
       3                                           (13y Plaintiff:Against-AlI Defendan

       4.               40.,    Plaintiff h6reby 'ificqrp&atesp4iagrap h's I thro4gh,,%inclusive., as though fully

       5    ;sdt fdtth 4
                       't th*ikpoifit

       6                11.     This action, is:brou&,pursuant, to the,' Califomia Taie 8mployment andBousing,

       7        Act; section 12940'(4) Of'the 6QvernmentCodel which prohibits an,eftiployer "jkodi discharging,
                                         .                                                                 ,
       8        expelling,or. otherwise, diserirninating"ag,ainst.,~any porsbn because'.'Of thd person's disability;

       9                12.                                                                qgq
                                At, Eili. timeg ihebtioned. iii'this Omplainf,, Defendants,r-   aTIy emploved at1eas"t
                                                                                            - I "'
            .
   10       five-'emplpyees
                         -.,bn"ntiin-g emolover within the                                     ions of- secii-on 12-*940 et,.seq.

   11           of the Govemmeat-Code.
                                                                                                                     I
   12                   131.    DUring,.Plainiift`,s employment,.as alleged 6E!rein,'D6fendant tetriiinated plaintiff

   13           hecause,of her: disa6ilit~..

   14                   1-4.As. Ei ditOct A'nd pfox-imate resdlt of,Def&iidants'unldmiffi
                                                                      l                 .l,.Icbndiict. as Alleaed in
                                                                                          I
   15       this complaint, Plaititiff"ha$ suffere.d, extr6ffieand severe: anguish, humiliation.;anger, tension,

            arixi6ty,,depressipn,.,IQwered,.,,sel'f-~esteem, aiid emotional distress.
            ,


   17                   15.                                                                 i ul cohduct,.-the Plaiiitiff hAs
                                -As-a furt-her direct and proXirhate, resUlt.6f. the uril'aWf

   tg 'suffered an&continxies"to suffi6r,ldss:ofi6come; loss`bf eatrii4gi.cap'66i Vy-l loss of job-opportunity

   19       land bthet los§e§.

   20                   .16.      *Aus6T1Aihtiff was: disciimindted agAiiist ib vi'olaiioii o.f the law, plaintiff is
                                Bec

   2.1      entitled to recove'-r attorneys' f6es,and cosis in this,action pursuant to Califfirnia-Government

   22           Code section.1290(b).

  '23;                  11.     Because,the"acts taken towatd, Plaintiffwerecarried:I ,OUtby 1Defehdahtg;,actingiha

   24 .deliberate'
                 ..               callous4 mal~66us.- Op"'ressive,,and inteiitibiialianher
                                                                                     m     in 6tdet to iojtfte'and

   25       ddiiiage plaintiff, PlAiiitiff rdqii6st§, tli6.','ass&ssiiiefit ofo,iihitiVO,:.da'ma"g'es-.-a'g'ain,s`t,.Defeiiddnts iman
                       OpioPri
   26           amount.       at.e,wvU,msh_ab:d.m.ake an example...of.Defendarifs.

   27

   28

                                                           Coniplaint f6irDaifiages
Case 8:16-cv-02150-JLS-KES Document 1-2 Filed 12/02/16 Page 4 of 9 Page ID #:21




        1                                             SECONUCAUSE OFACTION

        2                         (Failu,re to Prevent Discriminafion - GWt Codez § 12940(k))

        3                                       (By Plaintiff Against All.'Def&ndants)

        4             18.     Piaintiff hereby incofporates paragraphs I throug h 17,.inclugive, ag thdugh fully

            set-forth at-thig,'"O'Mt.

        6            -1-9.    This action:,is:.-t~rgug4t,pw.suani,,to the,.Californi'aFair Emiblovment and Practices,
    ~
        7                     ' (k) 0f4he Oovernment,C"0dt,which,pr'ohibiman
            Ae.ti section'.1"2940                                      i     employef ftomTaAing,,,w take

    S       -all.reas6hable stdp§ hedessa]ry 16 pfeVeht.disdriniffiatiom, hatas'gment and.retaliAtion And the

        9   cortdspionding te-gpl4tiong bf the, California Fair Eihploymeni Afid Housing, C6mmi S*sion.

   10                20.      Ai''all Orads mentioned in.thi&.compWht. Defendants regularly employed a.0east

   _11five.employee5 bringing, Defendant employer- within theprovisions of.-seqtionl-2960 et se.q. of
                                                                            .
   f2 Ibe. Govermnent Code prohibiiing emp'loyers or, ~their_ agenti f'romfailing to take 811 reasonable

   13,      steps. necessarylo .prevent-discrimination, harassment andtetaliation.

   14                21.      Defendants failed to take All r6dsonAble<steps nects$Afy-,to prevent discrimination

   15       a.nd harassment,ih.thatthe, employer failed to compl-y-zwith. Department of Fair Employment and

   16 `HousinLy law& and regulations,, failedAo - offer- discnmination: and harassment training, ffiled'to-

                                                                                     9ers About.
   17 -MAintain,an effective complaint procedure,,.failed.to*.adequate'fy educatemana.,

   t9       ~discriminationLand'hatafssmerit,l.,aiid'ta'led
                                                       I    toi-ddud'                           'per!respqnses t'o
                                                                    4 0t man agOrs~fegafdih'g pfo

   19 4,6Inpilaintt. Defendant Ms6Iadled,'t6'tAkeAIl'r'-ea                  le,'00&4o4prey,' t.hdfa§s'
                                                                                                     m6ntIAhd

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  '20, .dischrihihatimb ymotjaka-      ..q uat e reme'dial
                                                       i, adfon~a,-ft' "bi pMipg ANYztfe~~qf bngpjpg
                                                                    er~_e~c

            ,di-s6i-imi-'nati6n,,and'hara.s.sment..

  .22                212.     As,a direci- and: proximatexesult-'of Defendants' unlawful conduct as alleged in:

   23       this compfaint, Plaiiitiff "has suffeted eitrtme. aiid sevete anguish,, huiniliation, aliger, teilsioil,

   24       anxiety, depression,. lowotod-self-dstoem,.,sliapplds*sness dhd dinotibnal distress..

   25                23.       Ag a furthor difedt anid'ptOxiniate iesiilt bf the iiiiIAwfUl iconducf, PlAinfiff hA$'

   20 Suffleked-,,and continues to suff&r:los's;.of-indbm6,,Ioss,,Of, earning~,c4o4cityi> loss Qf-job opportunity

   27 4hd other losses,
                                                                    4~

                                                         C6MOIiifir f6'r'EiAm_ake-s
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                   24:    Because the Defendants failed'to prevent discriiriination and',harassment in
         violation of the Fair ErnPloyrnent and Housing; Act, Plaintiff is entitledi to recover attorneys' fees
         and costs,in this action pursuaritto•:California. Governinent:Code sectioin 12965(b).
                   *25.   Because the ac.tsaakenio-ward`Plaintiff were-carried out by Defendants acting in a
         deliberate; cold, callous, malicious, oppressive, and intentional manner in order to injure and
         damage: plaintiff, Plaintiff requests the assessment of punitive 'damages against Defendaitts in an
         amount appropjiate. tQ; ptinishi and rriake~an example of Defendants:
                                            THIRD CAUSE OF ACTION
    9                     (Violation of Califomia:Family Rights Act:- :Goy't Code § 12945.2)
   10                                     (By-Plainfiff:against,Al1 Defendants)
   11              26:    Plaintiffhereby iricorporates~paragraphs 1 through 25, inclusive, a's.though fully
   12    set forth at this point.
   13              27.    Tliis action is brought pursuant to th.e California Fair: Employment and Practices
   14    Act, section 12945:2:of the Government„Code,:and/or-the corresponding regulations of the
   15    California_FairEmployment and'Housing Commission, which makes, it an unlawful.employment.
              :.
   16    practice'for an:employer;to-refuse,to grant~a.request by any employee with more?than 11months
   17 ;of service witfi the einployer=and^who-has at least 1,250.hou"rs of.service with the:employer
   18    duririg the previo.us 12-inonth period, t6 take *up to a total of 1-2 workweeks in any 12=morith
   19    period for family care and medical leave. This section is deemed-violated when an ernployer
   20    fails to return.an employee;to. the same or, comparable position.at the end of the leave or if the
   21    employer discrimiirates.against'the:employee foi''taking;or a.sking,for leave:
   22              2$:    Ata11 tirries iiientioried.iri this;eomplaint;.plairitiff'was an employee,.ofdefendant
   23    employers wrthin °the meaning of.Governrnent Code sectious 12926,;12940 and 12945.2:
   24              29. ' -At all tiines relevaiit herein, Defendants w,ere.and:acean "employer" urider
   25:   FEHA, regularly employing,five or:more employees, respectively, within the rneaning of
   26    G;overnment.Code.sections 1:2926 and 12940.
   27              3.0.   At-a11'times relevanfherein,'Defendants; respecfively; erriployed fifty (50)"or
   28                                                        5

                                                  Complaint.for Damages
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    I    more,ernploypeswithin aseventy,=five (75) mileradius.of the fdcility whereplaintiffwas

    Z    employed.'

    3            31.      Plaititiff wag einplo'yed bV d6fefi.dantsfbr at least twelvd (12) total mo'nths prior to

    4    plaintiff s,teq0est-f6_r_leave as alldgqd,rnore,;fuljy herem.

    5            32.      Plaintiff gave.defendarfts at, 1east one. thousand, two, hundred fifty (1,250) hours of

    6                                   monih period immediately,preceding the.,request f6r. Ot,
         servic,e ,dqri4g the-twelVq.(l..2
                                       )

    I commencement, of plaintiff's leave.:

    8            33. .    Asisriiote.ffilfy-,gdtf*orthherdiii.i)laifitiffto6kafnodical- leav-e.., Defendants

    9    unlawfully discrimina'ted arid/o'r retaliated against plaintiff by ienTiinating her allegedly for

   10    ffiling to takb a.,drug test during her leave.

   Ill           :34.     As a direct and.proximaiiaresult- of defendants' -unlawfW tondudtas zllegbd in

   112                                                                    idg'uish, hurni.11iatil6n, ndr-Vot,isnds
         this cQmplainii, plaintiff has.suffered eic-tremelland Sdve're ',a                                     ,s,,

   13    anger,!tensi6n, ankie.y,       'eiiib tional di§tress.,.

   14            35.      As a ffirther"dird6t an i6kiniate result,of 'th -unlawful cPnduct, plainifff has.
                                                1 6p

   1,5 "s"'uffiered'a''nd cbrffi1n6e§ t suffdr, loss,ofdncome; loss ot earnuig~cap acity? ,loss.ofjob 0
                                                                                                      pportunity

   16    and other losses.,

   0             3.6.     Because plaintiff-was,~diseriihinEited-4gaiiist ffiviphitioribf the Fair Employment
                                                                          .
   18    and 14ousing.Att,plaijitiff.:is:diieidedtore-'c'o'v'et.aiqorneyp
                                                                       ..fets And costs in.thig aefion pursuant

   fo,   td. Cdliforliia G'overrun
                                .'ent Code--sectjon 1-2965(b).

   20            37.,     Bqq
                            - A                                                                 s ants acting in,a.
                                  e.',th'e,~qctsilake_n,towardvlaintiftwe re-carried;:,out~~y def6nd

   21    deliberate, cold, callous, malicio                         and iiitention'I'manner
                                                                                   a        in order to. inj'ute and

   22    damage plaintiff," 61aintiffTequests the%. assessment ofpunitive,,damages against defendants in an

   21    eittbunt,approp'n- *a't-eto,'punishand;thakdanloka4hple,bfd6f6hdant§.

   24                                        FOURTWCAUSE OF ACTION

   25,                                               (Inylasipn of.Privacy),

   26,                                     (BylPlaitiff,,Against All Defendants)

   `27           318.     Plaintiff.herebyincorporates paragra0hsAAhrough:.37, iiicltisive, A8:th6UO full.y.

                                                                    ;6

                                                      Compiiiint for Damages
Case 8:16-cv-02150-JLS-KES Document 1-2 Filed 12/02/16 Page 7 of 9 Page ID #:24




     1    set,-forth at. thi s -poin.t.

                   'A         this.,actibn i's'-brought pursuant tb- Artic4e 1., Secti0n I of the.0 alif6mia

          Coilstitution wlii6 bfbates.-a:4e ally pfbtected right,tb prMicy fcit individuals in the State of,

    4 cainmia.

    5              40.                            'able-expectation:,of pnvacy ihat extends,to whether sh,e
                             Plaintiff has a reasoh

    6     should be tested for drugs in:the worlcplace.-

    7              41.        Defendant failed to provWe..any regsonable suspicibn bn6d- oti objective facts that

    8.. mould.1 permit-theni tO- tont. Plaintiff f6f df.449.

    9              41, As a. dir"e'ct and':,pfox imate result 6f Defendants'unlawf4l coTiduct as alleged in.

    10. ihis- complaint. Plaihtiff has. suffered, extreme: and severe anguish,, humiliation, nervou'sness,
    .. I       :
   .1    angU,,tension anxiety and.,emofional distress.

   12              43.        As a further direct and proxiMate tesult of the iinlawful conduct.,. the Plaintiff has

   B                                                                                            "rtunity
          suffered and continues tb sufferloss of incomejoss ofearning capacity, loss of job oppo

   14.    and Other losses.

   15              44,        Be6a,uge t1he;acts,taken towardplaintiff- were carried out by,pDefendants.acting*in a

   '16,   qqnsci o-ps,and'reckl'e.ss..disregard of her:rijhts, pfaintiff requeststhe,assessment, of punitivel

   fl     damages-,.agaiinst-,Defendaiiis. m7an amduftt,apprOpriatc tb punishand'.'m*ak6 ah, example Of

   18     liefendants.

   19                                              FIFTH CAUSE OF'ACTI.O.N
                                                                ,
   20                                                (WrongfW'T-erminaiiori)

   211                                        '(By Plairi'ti'ff.Against,- -All,.Dofendants)*

   22              45.        OlAihtiff'bordb,y.I-iricoi-porate8 'b.y,-tie~fetente~.pai~$r     s I thrOugh
                                                                                                     "     44 ihelpsive,

   23     as though.,fuliyyset',fciithiAt.7this,poiiit..

   24              46.                                                      ',':wr6ngfq1 b'ecAuse it wag in viola'tioh of
                             '.P,.iaintiff:alleges .that'th&..,d4ischArgp was

   25     th&oublic policy 6fthe State of Califomia ag- set foiih in'Califo'mia Government Code section

   26     12940 et seq., the. administ,rative. regulations of theTair Employment, and Housing-Act and

   1-7                                        t
          Article, 1,and.lseciions, -1, and' 8of`tfie,                  - State ofcatifbrni-A.as-kt fbi&more
                                                       Constitution of'the

   28                                                                7
                                                                .
                                                           'C   lalrwi6r Oa.mages
Case 8:16-cv-02150-JLS-KES Document 1-2 Filed 12/02/16 Page 8 of 9 Page ID #:25




     1.   fully herein._
     1            47.      As.a direct and proximate result ofDefendants' unlawfal conduct as.alleged in
     3    this coinplaint; l'laintiff has suffered extrezne and severe anguish, humil'iation;;:anger, tens'ion,
     4    anxiety, depression, lowered self:esteem, sleeplessness and.emotional distress.
     5            48.      As a further direct and proxirnate result of the.unlawful.conduct, Plaintiff has
,    6    suffered and.continues to:suffer loss ofincome;.loss of.earning=capacity;.loss ofjob.opportunity
     7 and;ot}ier.losses:.
     8            49.      Beaause the acts taken toward Plairit'iff were: c'arried out by Defendants acting in a
     9    deliberate, cold, callous, malicious; oppressive; and`intentional manner in order to injur.e and
    10    damage plaintiff, Plaintiff requests. the assessment of punitive damages against Deferidants in an
    11    amount:appropriate to punish and make an example of Deferidants;                                          I
    12            WHEREFORE,:Plaintiffdemandsjudgment.against Defendants as follows;
    13    As to`the First; Second aind Third,Causes ofAction:;
    14            11.      For;general and compensatory-Aamages;
    '15           2.       For.special;damages.according-to.proof;
    16            3.       For=puriitive damages;,                                                                  I
    17            4.       For prejudgment-.interest on all afnounts claimed that are readily ascertainable;
    1-8           5..      For costs alid attorrieys' ~fees pursuarit tio Gouernment Code-section 12965(0;
    19                     arid
                                                        ,          .
    20            6.       For such otlier-and_ further relief that the eourt considers proper..


    22 I//

    23 Ill
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    ?g                                                        g

                                                     Complaint for Damages
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     1    As: to the, Fourth and FifthICauses ofAction:

     2:          L      For general aftd compeftsatciiy damages;,

     3          2.      Fdr $p6cia.dAmAges accoidin~.,tq,pfpof;,'

    4           3.      ForounitiVe dima 'es;,

     5           4.    For prejudgmeniinterest on all;amounts claimed that-are readily.ascertainable;

     6,          S.     For costs.;., and

     7           6.    'For sucfi other. and .'further,reli- 6'f tfiaCthe cbW-t:'cbnsiddfs Proper.

     9
    9.                                                             STEVENSA:McMILLAN



   it     Dated: October 23.,,2016                        m
                                                                  IJAN l~"L, W. a I t V tlS
   12                                                             Attornoy,for Plaintiff
                                                                  IZOSA FARKAS
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                                                  ICbMplojiffor Damages
